Case:19-11079-KHT Doc#:20 Filed:02/27/19                         Entered:02/27/19 18:11:46 Page1 of 12



                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

 In re:
                                                           Case No. 19-11079-KHT
 Willowood USA Holdings, LLC, et al.
 EIN: XX-XXXXXXX,                                          Chapter 11

                   Debtors.1
                                DEBTORS’ MOTION
                       FOR ENTRY OF AN ORDER AUTHORIZING
                (I) CONTINUED USE OF EXISTING CASH MANAGEMENT
            SYSTEM, (II) MAINTENANCE OF EXISTING BANK ACCOUNTS, AND
     (III) AN EXTENSION OF THE DEADLINE TO COMPLY WITH THE DEPOSIT AND
     INVESTMENT REQUIREMENTS OF SECTION 345 OF THE BANKRUPTCY CODE


            The above-captioned debtors and debtors in possession (the “Debtors”), in the above-

 referenced chapter 11 cases hereby file this motion (this “Motion”) for entry of an order,

 substantially in the form attached hereto as Exhibit A, pursuant to sections 105(a), 345, and 363

 of title 11 of the United States Code (the “Bankruptcy Code”), authorizing (i) the continued use

 of the Debtors’ existing cash management system, (ii) the Debtors to maintain their existing bank

 accounts, and (iii) a 60-day extension for the Debtors to either comply with the requirements of

 section 345(b) of the Bankruptcy Code or file a motion seeking an additional extension or waiver

 of the requirements of section 345(b) of the Bankruptcy Code. In support of this Motion, the

 Debtors rely upon and incorporate by reference the Affidavit of Thomas M. Kim in Support of

 Motion Seeking Expedited Entry of First Day Orders (the “Kim Affidavit”) filed

 contemporaneously herewith. In further support of this Motion, the Debtors respectfully

 represent as follows:



 1
  The Debtors in these chapter 11 cases, and the last four digits of their employer identification numbers, where
 applicable, are: Willowood USA Holdings, LLC (9193), Willowood USA, LLC (7337), Willowood, LLC,
 RightLine LLC (1429), Greenfields Holdings, LLC (5326), Greenfields Marketing Ltd. The Debtors’ corporate
 headquarters is located at 1350 17th Street, Suite 206 Denver, Colorado 80202.


 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                    Entered:02/27/19 18:11:46 Page2 of 12



                                         JURISDICTION AND VENUE

            1.       The Court has jurisdiction over the Debtors, their estates, and this matter pursuant

 to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

 § 157(b)(2). Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The

 statutory bases for the relief requested herein are sections 105(a), 363, 507, and 541 of the

 Bankruptcy Code and Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”).

                                                 BACKGROUND

 A.         General Background.

            2.       On the date hereof (the “Petition Date”), each Debtor other than Willowood USA

 Holdings, LLC filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

 Willowood USA Holdings, LLC filed a voluntary petition for relief under chapter 11 of the

 Bankruptcy Code on February 15, 2019. The Debtors continue to manage their business as

 debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

            3.       No creditors’ committee has been appointed in these cases. No request for

 appointment of a trustee or examiner has been made.

            4.       The factual background regarding the Debtors, including their business

 operations, their capital and debt structure, and the events leading to the filing of these chapter 11

 cases, is set forth in more detail in the Kim Affidavit.

 B.         The Debtors’ Cash Management System.

            5.       As of the Petition Date, the Debtors, in the ordinary course of their business

 operations, employ three bank accounts (collectively, the “Bank Accounts”)2 with KeyBank,

 NA (the “Bank”) that operate in connection with a centralized cash management system (the

 2
     The last four digits of the Bank Accounts

                                                       2
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                      Entered:02/27/19 18:11:46 Page3 of 12



 “Cash Management System”). Through the Bank Accounts, the Debtors efficiently collect,

 transfer, and disburse funds generated from their operations on a daily basis. The Debtors

 believe that the Bank Accounts are in a financially stable banking institution with the Federal

 Deposit Insurance Corporation or other appropriate government-guaranteed deposit protection

 insurance.

            6.    Willowood USA, LLC holds each Bank Account in its name. The first account,

 referred to as the “cash collateral account” or “lock-box account,”3 is used to receive payments

 from various sources, including customers. The funds in the lock-box account are swept daily

 into the Debtors’ operating account.4 Outgoing payments are transferred from the operating

 account to the disbursing account, sometimes referred to as the “zero balance account,” before

 being issued to the payee.5 The disbursing account is funded as needed to make payments and is

 zeroed out every day.6

            7.    Pending the approval of the Debtors’ separate motion for approval of post-

 petitioning financing (the “DIP Facility”), funds transferred into the lock-box account will be

 swept on a daily basis by KeyBank, NA, in its capacity as administrative agent and lender under

 the Debtors’ prepetition revolving credit facility (the “Revolving Credit Facility”), and will be

 applied by KeyBank, NA towards the Debtors’ payment obligations under the Revolving Credit

 Facility. Draws under the DIP Facility will be transferred directly into the operating account.

            8.    On any given day, the Debtors may process large numbers of transactions through

 the Cash Management System. The Debtors maintain current and accurate records of all

 transactions processed through the Cash Management System. Among other benefits, the Cash

 3
   The last four digits of the lock-box account are (8271).
 4
   The last four digits of the operating account are (8289).
 5
   The last four digits of the disbursing account are (4725).
 6
   Willowood USA holds two additional accounts with KeyBank, NA that the Debtors do not utilize (account
 numbers 9563, 7699).

                                                       3
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                 Entered:02/27/19 18:11:46 Page4 of 12



 Management System permits the Debtors to accurately monitor cash availability at all times.

 The Cash Management System also permits the Debtors to centrally manage and track the

 collection and transfer of funds.

                                       RELIEF REQUESTED

            9.    By this Motion, the Debtors seek entry of an order, pursuant to sections 105(a),

 345, and 363 of the Bankruptcy Code, granting the following relief:

            (a)   Authorizing the Debtors to continue to use the Cash Management System, subject
                  to any modification or other relief granted by order of this Court relating thereto,
                  including the following:

                  i)     the continued use of the existing Bank Accounts with the same names and
                         account numbers as such Bank Accounts existed immediately prior to the
                         Petition Date (with the option to the Debtors and the Bank of streamlining
                         their Cash Management System by closing or consolidating Bank
                         Accounts in accordance with the terms and conditions of the existing
                         account and service agreements);

                  ii)    the ability of the Debtors to deposit funds into and withdraw funds from
                         any of the Bank Accounts (subject to available funds or, in the case of
                         zero balance accounts, subject to the availability of funds in the applicable
                         linked funding accounts) by all usual means, including but not limited to
                         checks, wire transfers, electronic funds transfers, and other debits;

                  iii)   the ability of the Debtors to otherwise treat the Bank Accounts, along with
                         any accounts opened postpetition, for all purposes as debtor in possession
                         accounts;

                  iv)    authorizing and directing the Bank to maintain, service, and administer
                         such deposit accounts or investment accounts, without interruption and in
                         the ordinary course of business, in accordance with applicable non-
                         bankruptcy law and the account agreements and/or other service
                         documentation between the applicable Bank and the Debtors relating to
                         such accounts;

                  v)     authorizing and directing the Bank to rely on the representations of the
                         Debtors as to which Disbursements (as defined herein) are authorized to
                         be honored or dishonored, whether or not such Disbursements are dated
                         prior to, on, or subsequent to the Petition Date, and whether or not the
                         Bank believes the payment is authorized by an order of this Court; and




                                                   4
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                 Entered:02/27/19 18:11:46 Page5 of 12



                  vi)    authorizing the Bank to charge and collect, and authorizing but not
                         directing the Debtors to pay, the prepetition and postpetition service
                         charges and other fees and expenses to which the Bank are entitled under
                         the terms of their account agreements and/or other service documentation
                         with the Debtors;

            (b)   Authorizing the Debtors to maintain their existing investment practices, and

            (c)   Waiving the requirements of Bankruptcy Code section 345(b) as to the Cash
                  Management System for a period of sixty (60) days following the Petition Date.

            10.   Contemporaneously with the filing of this Motion, the Debtors have filed other

 motions seeking authority to pay certain prepetition obligations, including obligations to

 employees, critical vendors, and other entities. With respect to certain of these prepetition

 obligations, the Debtors already have issued, in the ordinary course of business, checks and other

 debits that have yet to clear the banking system. In other instances, the Debtors will issue checks

 or other debits postpetition on account of the prepetition obligations once this Court has entered

 an appropriate order permitting the Debtors to do so. The Debtors intend to inform the Bank

 which prepetition checks and other debits should be honored pursuant to orders of this Court

 authorizing such payment. Regardless of any orders of this Court authorizing pre-petition and/or

 post-petition payments by the Debtors, the Bank shall not be required to honor any overdrafts,

 checks, drafts, ACH transfers, debits, wires, or other transfers from the Bank Accounts

 (collectively, the “Disbursements”) unless there are collected and immediately available funds

 in the Bank Accounts sufficient to cover such requests.

            11.   As a result of the foregoing, the Debtors request that the Bank be authorized to

 accept and honor all representations from the Debtors as to which Disbursements should be

 honored or dishonored consistent with any order(s) of this Court and governing law, whether

 such Disbursements are dated or made prior to, on, or subsequent to the Petition Date. To the

 extent that the Debtors direct that any Disbursement be dishonored or the Bank inadvertently


                                                   5
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                 Entered:02/27/19 18:11:46 Page6 of 12



 dishonor any Disbursements, the Debtors request authority to issue replacement Disbursements

 consistent with the orders of this Court. The Debtors further request that the Bank shall not be

 liable to any party on account of (a) following the Debtors’ instructions or representations with

 respect to any order(s) of this Court, or (b) the honoring of any prepetition check or item in a

 good faith belief that this Court has authorized such prepetition check or item.

            12.   As described in greater detail below, the Debtors submit that the relief requested

 herein will help to ensure the Debtors’ orderly entry into and administration in chapter 11 and

 avoid many of the possible disruptions and distractions that could divert the Debtors’ attention

 from more pressing matters during the initial days of these chapter 11 cases.

                                        BASIS FOR RELIEF

 A.         Continued Use of the Debtors’ Existing Cash Management System and Bank
            Accounts is Appropriate and Justified Under the Circumstances.

            13.   The Office of the United States Trustee has established operating guidelines for

 debtor in possession relating to cash management systems (the “UST Guidelines”). The UST

 Guidelines, which are designed to provide a clear demarcation between a Debtors’ prepetition

 and postpetition operations, require, among other things, that a debtor (a) close all existing bank

 accounts, (b) open new accounts designated as “debtor in possession” accounts, (c) make all

 post-petition disbursements by check, and (d) include the words “debtor in possession” and

 certain other information on all checks. See 28 U.S.C. § 586 and UST Guidelines.

            14.   In larger chapter 11 cases, courts have routinely waived the requirements of the

 UST Guidelines, recognizing that they are often impractical and potentially detrimental to a

 Debtors’ postpetition business operations and restructuring efforts. See, e.g., Official Comm. of

 Unsecured Creditors of the Columbia Gas Transmission Corp. v. Columbia Gas Sys. Inc. (In re

 Columbia Gas Sys., Inc.), 997 F.2d 1039, 1061 (3d Cir. 1993) (finding that a requirement to


                                                   6
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                 Entered:02/27/19 18:11:46 Page7 of 12



 maintain all accounts separately “would be a huge administrative burden and economically

 inefficient”); Southmark Corp. v. Grosz (In re Southmark Corp.), 49 F.3d 1111, 1114 (5th Cir.

 1995) (finding that the cash management system allows the debtor “to administer more

 efficiently and effectively its financial operations and assets”).

            15.   Any disruption of the Debtors’ accounting and cash management procedures

 would be burdensome and disruptive, and could adversely impact the Debtors’ efforts to operate

 during these chapter 11 cases. For instance, the Debtors’ customers make payments to the

 Debtors by wiring funds or sending checks to the lock box account, which is associated with

 their bank accounts. If the Debtors close current Bank Accounts, they will have to provide every

 customer with new wire instructions. Even assuming the Debtors are able to timely

 communicate with each customer, closing their current Bank Accounts creates a substantial risk

 that payments will go unreceived. Additionally, customers may have issued checks for payment

 that have not yet cleared. If the Debtors close the exiting Bank Accounts, there could be a

 substantial delay in the time it takes to cash outstanding checks. At this critical juncture, the

 Debtors must be able to conduct “business as usual” to the extent possible. To this end, it is

 essential that the Debtors be permitted to continue to use their existing Cash Management

 System and Bank Accounts.

            16.   The Cash Management System and Bank Accounts provide numerous benefits to

 the Debtors and their estates. Among other benefits, the Debtors have the capability through the

 Cash Management System to distinguish between prepetition and postpetition transactions

 without the necessity of closing the Bank Accounts and opening new ones. Moreover, the

 Debtors have the ability to generate through the Cash Management System detailed and accurate

 reports.



                                                   7
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                 Entered:02/27/19 18:11:46 Page8 of 12



            17.   Based on the foregoing, there is good cause for waiver of the requirements of the

 UST Guidelines. The continued use of the Cash Management System and the Bank Accounts is

 in the best interests of the Debtors’ estates and no party in interest would be prejudiced in any

 way by their continued use.

            18.   The Court has authority to grant the relief requested in this Motion under

 Bankruptcy Code section 105(a), which empowers bankruptcy courts to enter “any order,

 process, or judgment that is necessary or appropriate” to carry out the provisions of the

 Bankruptcy Code. 11 U.S.C. § 105(a). Bankruptcy Code section 105(a) codifies the “equitable

 power” of bankruptcy courts and provides “broad authority” to accomplish tasks important to the

 implementation of the Bankruptcy Code. See United States v. Energy Res. Co., 495 U.S. 545,

 549 (1990) (stating that the statutory directive of section 105(a) is “consistent with the traditional

 understanding that bankruptcy courts, as courts in equity, have broad authority to modify

 creditor-debtor relationships”).

 B.         The Court Should Allow the Debtors 60 Days to Comply With the Requirements of
            Section 345(b) of the Bankruptcy Code.

            19.   Pursuant to Bankruptcy Code section 345(b), any deposit or other investment

 made by a debtor, except those insured or guaranteed by the United States or a department,

 agency or instrumentality of the United States or backed by the full faith and credit of the United

 States, must be secured by either a bond in favor of the United States that is secured by the

 undertaking of a corporate surety approved by the United States Trustee for the relevant district

 or the deposit of securities of the kind specified in 31 U.S.C. § 9303. Section 345(b) provides

 further, however, that a bankruptcy court may allow the use of alternatives to these approved

 investment guidelines “for cause.” See 11 U.S. C. § 345(b); see also In re Serv. Merch. Co., 240

 B.R. 894, 896 (Bankr. M.D. Tenn. 1999).


                                                   8
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                      Entered:02/27/19 18:11:46 Page9 of 12



            20.      In Service Merchandise, the court identified the following factors as a guide for

 determining whether cause exists to waive the requirements of section 345(b):

                  (a) the sophistication of the Debtors’ business;

                  (b) the size of the Debtors’ business operations;

                  (c) the amount of the investments involved;

                  (d) the bank ratings of the financial institutions where the Debtors’ funds are held;

                  (e) the complexity of the case;

                  (f) the safeguards in place within the Debtors’ own business of insuring the safety of
                      the funds;

                  (g) the Debtors’ ability to reorganize in the face of a failure of one or more of the
                      financial institutions;

                  (h) the benefit to the debtor;

                  (i) the harm, if any, to the estate; and

                  (j) the reasonableness of the Debtors’ request for relief in light of the overall
                      circumstances of the case.

            Id. at 896.

            21.      The court also concluded that the benefits of waiving the requirements of section

 345(b) far outweigh any potential harm to the estates, and the failure to waive the requirements

 “would ‘needlessly handcuff’ these debtors’ reorganization efforts.” Id. at 897.

            22.      Historically, all excess funds of the Debtors have been maintained in interest-

 bearing domestic bank accounts insured by the United States (through the FDIC or other

 appropriate government-guaranteed deposit protection insurance). Any investment of the

 Debtors’ excess funds is managed exclusively through the Cash Management System. To the

 extent that any of the Debtors’ funds are not deposited in accordance with section 345 of the

 Bankruptcy Code, the Debtors request that the Court allow them a 60-day extension of time to

 (a) comply with the requirements of section 345(b) of the Bankruptcy Code or (b) file a motion

                                                         9
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                Entered:02/27/19 18:11:46 Page10 of 12



 seeking an additional extension or waiver of the requirements of section 345(b) of the

 Bankruptcy Code.

 C.         The Requirements of Bankruptcy Rule 6003(b) Have Been Satisfied.

            23.   Bankruptcy Rule 6003 provides that to the extent “relief is necessary to avoid

 immediate and irreparable harm” a Bankruptcy Court may approve a motion to “pay all or part of

 a claim that arose before the filing of the petition” prior to twenty-one days after the Petition

 Date. While the Debtors do not anticipate that any prepetition amounts will be due to the Bank

 on account of maintaining the Cash Management System, the Debtors submit that the relief

 requested herein is necessary to avoid immediate and irreparable harm and, therefore, the

 requirements of Bankruptcy Rule 6003 for expedited relief are satisfied, and that Bankruptcy

 Rule 6003 has been satisfied to permit such payments, if any are necessary.

 D.         Cause Exists for Waiver of the Stay Imposed by Bankruptcy Rule 6004(h).

            24.   In addition, by this Motion, the Debtors seek a waiver of any stay of the

 effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n

 order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

 expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

 P. 6004(h). As set forth above, the Debtors require immediate relief to continue ordinary

 business operations for the benefit of all parties in interest. Accordingly, the Debtors submit that

 ample cause exists to justify a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h),

 to the extent that it applies.

                                   RESERVATION OF RIGHTS

            25.   Notwithstanding anything to the contrary in this Motion, the Debtors reserve the

 right to close any of their existing Bank Accounts and/or to open one or more new accounts as

 may be necessary in the Debtors’ business judgment and consistent with any requirements that

                                                   10
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19                Entered:02/27/19 18:11:46 Page11 of 12



 may be imposed by this Court; provided, however, that the Debtors shall not close any existing

 Bank Accounts and open one or more new accounts in the name of the Debtors with another

 financial institution, without the consent of the Bank where the account is being closed. The

 Debtors will give notice, however, to the Office of the United States Trustee and any official

 committee that may be appointed in these cases prior to closing any of their existing Bank

 Accounts or opening any new accounts.

                                               NOTICE

            26.   In compliance with Local Rule 2081-1(b), notice of this Motion has been or will

 immediately be served by facsimile, email, overnight mail, or hand delivery, to: (i) the United

 States Trustee for the District of Colorado (ii) those entities or individuals included on the

 Debtors’ list of 20 largest unsecured creditors on a consolidated basis, (iii) Latham & Watkins

 LLP, Attn: Lindsey Henrikson, 330 North Wabash Avenue, Suite 2800, Chicago, Illinois 60611

 and Markus Williams & Young LLC, Attn: James T. Markus, 1700 Lincoln, Suite 4550, Denver,

 Colorado 80203, (iv) Moye White LLP, Attn: Timothy M. Swanson, 16 Market Square, 6th

 Floor, 1400 16th Street, Denver, Colorado 80202, (v) all parties requesting notices pursuant to

 Bankruptcy Rule 2002, and (vi) the IRS and other relevant government agencies. The Debtors

 submit that, in light of the nature of the relief requested, no other or further notice need be given.

                                           CONCLUSION

            WHEREFORE, the Debtors respectfully request that the Court enter an order

 substantially in the form attached hereto, (a) authorizing the Debtors to (i) continue to use their

 existing cash management system, and (ii) maintain their existing bank accounts, (b) granting a

 60-day extension for the Debtors to either comply with the requirements of section 345(b) of the

 Bankruptcy Code or file a motion seeking an additional extension or waiver of the requirements



                                                   11
 18801897
Case:19-11079-KHT Doc#:20 Filed:02/27/19               Entered:02/27/19 18:11:46 Page12 of 12



 of section 345(b) of the Bankruptcy Code, and (c) granting such other and further relief as is just

 and proper.

 Date: February 27, 2019.

                                           BROWNSTEIN HYATT FARBER
                                           SCHRECK, LLP

                                           s/ Andrew J. Roth-Moore
                                           Michael J. Pankow, #21212
                                           Joshua M. Hantman, #42010
                                           Andrew J. Roth-Moore, DE Bar No. #5988
                                           410 17th Street, Suite 2200
                                           Denver, Colorado 80202
                                           Telephone: (303) 223-1100
                                           Facsimile: (303) 223-1111
                                           mpankow@bhfs.com
                                           jhantman@bhfs.com
                                           aroth-moore@bhfs.com

                                           Proposed Attorneys for the Debtors




                                                 12
 18801897
